[23405 FRES Tee

ATT REWER EIN OB FBIM Document 100-5 Filed 08/08/23 Page 1 of 2

STATE OF MONTANA

Coortalyy of SABRES cereevnsnsnensistres 4

Filud for record this,,.28h.day of on SEPTEMBER, 2003 wv Hh ARGO clock... EaM. and:

Recoriled in Book..146.0f Deeds on Page.$23.of the Records of County 9 VAMLEY

State.of Montana, Hegre tl, RE [WEE rns Cleike and Recorder By..Acac Clasiiae Danity...
Na, {dan GUIT CLAIM DEED. FEE: $12.00. RATE TUBLISIUNO ED INES

THIS INDENTURE: Made tie. fons. da9 Oho SEE UHL ce noonht the Seat of our

Lord... AGA. pene : : —dbelween... see :
“OnTO. KRotiba,..¢/o. Ammen, Grous,, 439 Grand 2MB.139. RAGEORKA ME. caeld

x3 . ‘the PurLYae.. Of the first part
and JON RRVIN, MOORE,.OF, RO. BOX, G12. BAGtOrK MT, 59912.
sant PartSinn of tha SECOND PART, -

WITNESSETH: That the sald partay.of the FIRST PART for and in consideration of i
the ‘sum Povo BOTAN ORVAT, RAINARLR. CARELRERALEO. nD oMlarsy (($.40.00..0N9) - ,

fo .bdm.nn, sicpuerigemmanerner sie . wuain dund-paid by the said i
‘parts, of the SECOND PART, réccipt of whitch is Rereby acknowledgeds docs hareby convey. - :
yamize, séledie and forever quilelaim unto tlie said’ part.y..-... of the second part, and fo AG. crremen +
heirs, and ossignsoll right, dtle and interest in and to the.fallowing described real estate, silucted int tha
| and. State of Montana, to-vits sar seme : |
snare, REET as seepe cscs 1 : !
:

. wogether Wilh aif the tenements, hereditaments, and appurtenances therele ‘Faloaging. ond Whe reversion :
and reversion’, remaittder:and refneinders, rents, issues and profits thereof and ‘ds all theveatite, right *:
tile, inlerest, properly, fiossesston, claim and demand'whalsoever: +

os well'in law az in-equity, of the said party... of the. Firat pari, of, in pr to tha enid premises and .

every part ond pareel thereof. ta :
/ TO HAVE AND 70 HOLD, all: and singular the said. premises, ott the appurtenances :
I a . . ‘ vet . i i
| unto the tald pari¥,.....~ of ihe sréond part BSB enone bidre and assigns foraver. i
AN- WITNESS W71 EREOF, the said party... os of the fest patt-h.os.— hereunto seh...ia. +
hand... and yeal the day and year-fitst above writien. |
Signed, Sealed and Delivered in the Presence of b .
i
STATE OF MONTANA \ . - i
, . 4
County of, Fo Lose momed 2
On this. on. of, Lo. Seetieetee 2003. ees
befiire mien Amy trite te RT ee - sonvcenet Notaty Public Jor the
State of Montana, personally appeared....O 330. BRQUEA : aay
Intawn to We RCN bee CPE . Sineeqasis ‘ ae {
I ett ee mers
4 / ee feral to me on gath of, taser . ‘ send .
a Heo: the age whete Nante,A8,.-.—- subscribed to the withire instrament, and acknowledged |
im il g tofnethal mentee Bene execuled the some. oS . 1
a 43 _- “i. WHTNESS WHEREOF, 1 have herennto set my-hand and affixed my Official Seal;
; Wes Re, day and’ year in this certificate feetatbiabe writfen. / :
‘Oh ate 2 Ree, ASB LETS racist \
. Neato? Walay Polis for the Stoic of Monianc. | oe
2 Reid LoneseaahG My Commission expired iis 212 aes a
REVURN TO: John Kevin Moore, PO Pox 619, Bigfork, "UT, 59911 EXHIBIT
/ A . ¥
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CT 000006

Case 4:22-cv-00074-BMM Document 100-5 Filed 08/08/23 Page 2 of 2

123419 Page Z oF Z

Towinsht Tanve. 41 East, MEM
Seotion 28: NWANW 7 .
BXCEPTING THEREFROM the Railroad and Hi

as follows: : .
Beginning at the Northwest Section corner of Section 28; thenee 5: 0D OF

W/. a distance of 330,00 feet along the west section line of sald Section 28 to ihe
tue point of beginning; ic

distance of 344.28 feat; thence 8. 1D 44! 58" B. a distance of 1492.74 feet;
thence N. OD 13° 32° 8. slong the 1/16 section line 2 distoice of 334.88 feet,
thence N. 71D 23° 18° W. along the Highway R/W lino a distance of 696,00 feet
to highway station $03+00; thence N. 18D 36° 42" E. n distance of 20 fect; thence
N.71D 23" 18" W. slong the Highway R/W line-a distance of 700,11 feet to the

point of true beginning- , .
co ALSO EXCEPTING therefrom all'of the Jands north of the U.S. Highway
_ Ne. 2 located in the NWANWK Section 28, Township 28 North, Range 41 East,
MPM. {Deed reference: Book 124 Deeds page $52, Doe. No. 36749)
... Excepting. therefrom lands conveyed to the State of Montana Highway
Commission and mors particularly described in book 65 of Deeds on pages 613-
614, , ,

“section 28: A strip or piece of land 185; feet wide in the BANWY lying horvicon twa lines

parallel to and distant respectively, 45 fect and 260 fect southwesterly, measured

at right angles, from the center lins of the main tract of the railway of the Great -

Northen {now Burlington Northem) Railway Company, 2s now located and
constructed. (Deed reference book 63 MRE pages 27-28)

Section 29: Alf that part of the right of way of the railway of Great Northern, now Burlington”

Northern, lying between twa lines paralicl io and distant, respectively, 75 feet and
260 feet Southwesterly, measured at right angles from the centerline of. the railway

of the Great Northern Railway (now Burlington Northern} Company, as fow -

located and constracted and extending from the ast line of said Section 29

‘Northwesterly to a line drawn at ¢ right angle to said centerline of rallway at a

point thore.n distant Norfliwesterly 00 feet, measured along said center linc, from

its intersection with the Bust line of said Section 29, (Deed reference book 61

MRE pages 323-325)
Section 29: Lots.6, 7, 13, 15, SANEM

-Seetion 29: Lots 1, 2, 5, 8, 10. 11, NANEY
Seetion 30: Lot 23

Situated in Valley County. Montana

(Plat filed March 24, 1981 al 9:00 A.M. Misc. File No. 21598, Doc. No. 33722)

CT 000007

ghway Right of ‘Way described :

thence $. 0D 09" W. continuing along the section line a.

